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13
                                  UNITED STATES DISTRICT COURT
14
                                 NORTHERN DISTRICT OF CALIFORNIA
15
                                     SAN FRANCISCO DIVISION
16

17
     3taps, Inc.,                                  Case No. 18-cv-00855-EMC
18
                    Plaintiff,                     STIPULATION AND [PROPOSED]
19                                                 ORDER CONTINUING CASE
             vs.                                   MANAGEMENT CONFERENCE
20
     LinkedIn Corporation,                         Judge: Hon. Edward M. Chen
21
                    Defendant.                     Action Filed:   February 8, 2018
22                                                 Trial Date:     None Set

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                                                                                 18-cv-00855-EMC
                                   STIPULATION AND [PROPOSED] ORDER
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 1                           STIPULATION AND [PROPOSED] ORDER
 2          WHEREAS, Plaintiff 3taps, Inc. (“3taps”) filed the complaint in the above-captioned
 3 action against Defendant LinkedIn Corporation (“LinkedIn”) on February 8, 2018 (ECF No. 1);

 4          WHEREAS the complaint in the above-captioned action consists of a single count for a

 5 declaratory judgment that LinkedIn cannot assert the Computer Fraud and Abuse Act, 18 U.S.C. §

 6 1030 (“CFAA”) to prevent 3taps from accessing certain portions of LinkedIn’s website;

 7          WHEREAS, on February 23, 2018, this action was reassigned to this Court as related to

 8 hiQ Labs, Inc. v. LinkedIn Corp., No. 17-cv-03301-EMC (the “hiQ Action”) (see ECF No. 97 in

 9 No. 17-cv-03301-EMC);

10          WHEREAS, on March 9, 2020, LinkedIn filed a petition for a writ of certiorari in the
11 Supreme Court of the United States in the hiQ Action (“Petition”) concerning a question

12 concerning the scope of the CFAA, the outcome of which may impact the viability of the

13 declaratory judgment that 3taps seeks in this action;

14          WHEREAS, the Court entered a scheduling order in this case whereby LinkedIn’s deadline
15 to answer or otherwise respond to the complaint, the resumption of discovery, and other deadlines

16 depend on the date that the Supreme Court either rules on LinkedIn’s Petition, or issues an opinion

17 on the merits in the hiQ Action (ECF No. 30);

18          WHERAS, the Supreme Court likely will not consider the Petition until the end of
19 September, 2020, based on its current briefing schedule;

20          NOW, THEREFORE, FOR GOOD CAUSE, IT IS HEREBY STIPULATED AND

21 AGREED:

22             1. The case management conference currently set for July 23, 2020 is continued to

23 December 17, 2020 at 1:30 p.m.

24             2. Nothing in this stipulation or order affects any other deadline in ECF No. 30.

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                                                    -1-                                 18-cv-00855-EMC
                                   STIPULATION AND [PROPOSED] ORDER
        Case 3:18-cv-00855-EMC Document 31 Filed 06/16/20 Page 3 of 3




 1 DATED: June 16, 2020                              THE LAW OFFICES OF THOMAS V.
                                                     CHRISTOPHER
 2

 3
                                               By:       /s/ Thomas V. Christopher
 4                                                   THOMAS V. CHRISTOPHER
 5                                                   Attorneys for Plaintiff 3taps, Inc.
 6

 7 DATED: June 16, 2020                              MUNGER, TOLLES & OLSON LLP
 8

 9
                                               By:        /s/ Jonathan H. Blavin
10                                                   JONATHAN H. BLAVIN
11                                                   Attorneys for Defendant LinkedIn Corporation
12
     N.D. Cal. Civil Local Rule 5-1 Attestation
13
            I, Jonathan H. Blavin, am the ECF user whose credentials were utilized in the electronic
14
     filing of this document. In accordance with N.D. Cal. Civil Local Rule 5-1, I hereby attest that
15
     Thomas V. Christopher concurred in the filing of this document.
16

17                                                __/s/ Jonathan H. Blavin______
                                                  Jonathan H. Blavin
18

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20                                        [PROPOSED] ORDER

21          Pursuant to Stipulation, it is SO ORDERED.

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23 DATED: June ___, 2020

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25
                                                   The Honorable Edward M. Chen
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                                                      -2-                                  18-cv-00855-EMC
                                    STIPULATION AND [PROPOSED] ORDER
